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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 20-23287-CIV-GAYLES/OTAZO-REYES

   LUIS MANUEL RODRIGUEZ, et al.,

           Plaintiffs,

   v.

   IMPERIAL BRANDS PLC, et al.,

           Defendants.
                                                  /

          ORDER GRANTING PLAINTIFFS' UNOPPOSED MOTION FOR AN ORDER
         MODIFYING/EXTENDING DEADLINES IN THE POST-REMAND BRIEFING
        SCHEDULE ON DEFENDANTS’ IMPERIAL BRANDS PLC, WPP PLC, YOUNG &
                RUBICAM LLC, AND BCW LLC’S MOTIONS TO DISMISS
                       THE SECOND AMENDED COMPLAINT

           THIS CAUSE having come before the Court on Plaintiffs’ Motion for an Order

  modifying/extending deadlines in the post-remand briefing schedule on Defendants’ Imperial

  Brands plc, WPP plc, Young & Rubicam LLC, and BCW LLC’s Motions to Dismiss the Second

  Amended Complaint, and good cause appearing therefore, it is ORDERED AND ADJUDGED

  that the Plaintiffs’ Motion is GRANTED.

           The Court's Order dated April 21, 2023 [D.E. 316] and the post-remand briefing schedule

  for Defendants Imperial Brands plc, WPP plc, Young & Rubicam LLC, and BCW LLC’s

  Motions to Dismiss the Second Amended Complaint are hereby amended as follows:

           1.      Plaintiffs shall respond to Defendants’ post-remand briefs by Friday, July 7, 2023;

           2.      Defendants shall reply to Plaintiffs’ post-remand briefs by Friday, July 28, 2023;

                   and

           3.      The Court shall conduct a telephonic conference on August 1, 2023, at 11:30
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                A.M. to schedule a new date for an all-day Zoom video hearing on the parties’

                post-remand briefings. The parties shall call the conference number 1-888-684-

                8852 at the appointed time, then enter access code 4791317 and security code

                0801.

         DONE AND ORDERED in Chambers at Miami, Miami-Dade County, Florida, this 14th

  day of June, 2023.

                                                     ____________________________________
                                                     HONORABLE ALICIA M. OTAZO-REYES
                                                     United States Magistrate Judge


  cc:    United States District Judge Darrin P. Gayles
         Counsel of Record




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